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       Case 1:12-cr-00522-JHR           Document 148         Filed 11/03/14      Page 1 of 4 PageID: 484




                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY


      UNITED STATES OF AMERICA                                CRIMINAL NO. 12-00522 (JEI) (          CJ...t)
      v.                                                      ORDER OF INTERIM PAYMENT FOR
                                                              REPRESENTATION OF COUNSEL
      ISATU TEJAN-SIE                                         PURSUANT TO THE CRIMINAL
                                                              JUSTICE ACT 18:3006(A)

                Because of the complexity of the case, the expected length of pretrial preparation, the

      length of the trial, and the anticipated hardship of counsel in undertaking representation full-time

      for such a period without compensation, in accordance with section 230.73.10 of the Guidelines

      for the Administration of the Criminal Justice Act, the following procedures for interim

      payments shall apply during the course of your representation in this case:

                                       1. SUBMISSION OF VOUCHERS

                Counsel shall submit to the Court Clerk, on a mon~hly and/or quarterly basis, an interim

      CJA Form 20 "Appointment of and Authority to Pay Court Appointed Counsel". Compensation

      -earned and reimbursable expenses incurred shall be claimed on each interim voucher. The first

      interim voucher submitted shall reflect all compensation claimed and reimbursable expenses

       incurred from the date of appointment to
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      vouchers shall be submitted quarterly according to the schedule outlined above. Each voucher

      shall be numbered in series in Box 22 and include the time period it covers in Box 19. All

      interim vouchers shall be supported by detailed and itemized time and expense statements.

      Chapter 2, Part C of the Guidelines for the Administration of the Criminal Justice Act outlines



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...
      Case 1:12-cr-00522-JHR
           ..                         Document 148         Filed 11/03/14     Page 2 of 4 PageID: 485




      the procedures and rules for claims by CJA attorneys and should be followed regarding each

      voucher.

             The Court will review the interim vouchers when submitted, particularly with regard to

      the amount of time claimed, and will authorize compensation to be paid for four-fifths (80%) of

      the approved number of hours. The Court will also authorize payment for all reimbursable

      expenses reasonably incurred.

             At the conclusion of representation, counsel should submit a final voucher seeking

      payment of the one-fifth (20%) balance withheld from the earlier.interim vouchers. The final

      voucher shall be labeled as such in Box 22 and shall set forth in detail the time and expenses

      claimed for the entire case, including all appropriate documentation. After reviewing the final

      voucher, the Court will submit it to the Chief Judge of the Circuit or his or her designee for

      review and approval.

                                      2. REIMBURSABLE EXPENSES

             Counsel maybe reimbursed for out-of-pocket expenses reasonably incurred incident to

      representation. While the statute and applicable rules and regulations do not place a monetary

      limit on the amount of expenses that can be incurred, counsel should incur no single expense

      item in excess of$800 without PRIOR approval of the Court. Such approval may be sought by

      submitting the CJA 21 to the Clerk with supporting documentation attached if deemed necessary,

      stating the nature of the expense, the estimated dollar cost and the reason the expense is

      necessary to the representation. An application seeking such approval may be filed in camera, if

      necessary. Upon finding that the expense is reasonable, the Court will authorize counsel to incur

      it. Recurring expenses, such as telephone calls, photocopying and photographs, which aggregate


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    '• Case 1:12-cr-00522-JHR         Document 148          Filed 11/03/14     Page 3 of 4 PageID: 486




      more than $800 on one or more interim vouchers are not considered single expenses requiring

      Court approval.

             With respect to travel outside of the city-county-state for the purpose of consulting with

      the client or his or her former counsel, interviewing witnesses, etc., the $800 rule should be

      applied in the following manner. Travel expenses, such as, mileage, parking fees, meals and

      lodging, can be claimed as itemized expenses. Therefore, if the reimbursement for expenses

      relating to a single trip will aggregate an amount in excess of $800, the travel should receive

      PRIOR authorization of the Court. The following additional guidelines maybe helpful:

             (a)     Case related travel by privately owned automobile should be claimed per mile at

                     the applicable rate (check with the Clerk's office for current rates), plus parking

                     fees, ferry fees, and bridge, road and tunnel tolls. Transportation other than by

                     privately owned automobile should be claimed on an actual expense basis. If

                     travel is authorized, arrangements can be made at Government rates through

                     National Travel Service. Please contact the CJA administrator in the

                     Clerk's office for additional guidance. Air travel in "first class" is prohibited;

             (b)     Actual expenses incurred for meals and lodging while traveling during the course

                     of representation must conform to the prevailing limitations placed upon travel

                     and subsistence expenses of federal judiciary employees in accordance with

                     existing government travel regulations. For specific details concerning high-cost

                     areas, counsel should consult the Clerk; and

             (c)     Telephone toll calls, telegrams, photocopying and photographs can all be

                     reimbursable expenses if reasonably incurred. However, general office overhead,


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      Case 1:12-cr-00522-JHR          Document 148         Filed 11/03/14             Page 4 of 4 PageID: 487




                     such as rent, secretarial help and telephone service, is not a reimbursable expense,

                     nor are items of a personal nature. In addition, expenses for services of subpoenas

                     on fact witnesses are not reimbursable, but rather are governed by Rule 17

                     F.R.Crim.P. and 28 U.S.C.§1825.

                               3. FURTHER QUESTIONS OR GUIDANCE

              Answers to questions concerning services under the Criminal Justice Act, can generally

      be found in (1) 18 U.S.C. 3006(A); (2) the Plan oftheUnited States District Court for the District

      ofNew Jersey; (3) Appendixlto the Criminal Justice Act Plan; and (4) Guidelines for the

      Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.

      Courts. Should these references fail to provide the desired clarification or direction, counsel is

      directed to contact the Clerk's office, specifically, Anna Irwin, CJA Administrator at (609)

      989-2398 in Trenton.




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                                                    THOMAS I. V ANASKI E, JUDGE
                                                    UNITED STATES COURT OF APPEALS
                                                    FOR THE THIRD CIRCUIT


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